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 9   SOVEREIGN PEAK VENTURES, LLC
10
                                UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12
     SOVEREIGN PEAK VENTURES, LLC,                 CASE NO. 3:19-cv-00025
13

14                Plaintiff,                        COMPLAINT FOR PATENT
           v.                                       INFRINGEMENT
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     LIFI LABS, INC.,
16                                                  DEMAND FOR JURY TRIAL
                  Defendant.
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                                COMPLAINT FOR PATENT INFRINGEMENT
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             Plaintiff Sovereign Peak Ventures, LLC (“SPV”), by and through the undersigned
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     counsel, hereby brings this action and makes the following allegations of patent infringement
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     relating to U.S. Patent Nos. 6,577,073 (“the ’073 patent”) and 7,204,607 (“the ’607 patent”),
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     (collectively “the Asserted Patents”) against Defendant Lifi Labs, Inc. (“Lifi”) and alleges as
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     follows upon actual knowledge with respect to itself and its own acts, and upon information and
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     belief as to all other matters.
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                                          NATURE OF THE ACTION
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             1.      This is an action for patent infringement. SPV alleges that Lifi has infringed
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     and/or is infringing one or more of the ’073 patent and the ’607 patent, copies of which are
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     attached as Exhibits A-B, respectively.
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             2.      SPV alleges that Lifi directly infringes and/or has infringed the Asserted Patents
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     by making, using, offering for sale, selling, and/or importing various models of LED bulbs. SPV
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     seeks damages and other relief for Lifi’s infringement of the Asserted Patents.
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                                                THE PARTIES
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             3.      Plaintiff SPV is a Texas limited liability company with its principal place of
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     business in Plano, Texas.
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             4.      Upon information and belief, Lifi is a Delaware corporation with places of
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     business in Redwood City and/or San Francisco, California.
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                                         JURISDICTION AND VENUE
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             5.      This action for patent infringement arises under the Patent Laws of the United
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     States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and
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     1338.
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             6.      This Court has both general and specific personal jurisdiction over Lifi because
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     Lifi has committed acts within this District giving rise to this action and has established minimum
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     contacts with this forum such that the exercise of jurisdiction over Lifi would not offend
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     traditional notions of fair play and substantial justice. Lifi, directly and through subsidiaries and
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     intermediaries (including distributors, retailers, franchisees and others), has committed and
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                                       COMPLAINT FOR PATENT INFRINGEMENT
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     continues to commit acts of infringement in this District by, among other things, making, using,
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     testing, selling, importing, and/or offering for sale products that infringe the Asserted Patents.
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            7.      Venue is proper in this District and division under 28 U.S.C. §§1391(b)-(d) and
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     1400(b) because Lifi is resides in this District with at least one regular and established place of
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     business in this District, transacts business in this District, and has committed and continues to
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     commit acts of direct infringement in this District.
 7
                                    INTRADISTRICT ASSIGNMENT
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            8.      Pursuant to Local Rule 3-2(c), this case is subject to district-wide assignment
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     because it is an Intellectual Property Action.
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                         COUNT I: INFRINGEMENT OF THE ’073 PATENT
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            9.      The allegations of paragraphs 1-8 of this Complaint are incorporated by reference
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     as though fully set forth herein.
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            10.      SPV owns by assignment the entire right, title, and interest in the ’073 patent.
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            11.     The ’073 patent was issued by the United States Patent and Trademark Office on
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     June 10, 2003 and is titled “LED Lamp.” A true and correct copy of the ’073 patent is attached as
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     Exhibit A
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            12.      Upon information and belief, Lifi has directly infringed at least claim 1 of the ’073
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     patent by making, using, testing, selling, offering for sale and/or importing in the United States
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     without authority devices such as the LIFX bulbs (collectively “the Accused Infringing Devices”)
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     in an exemplary manner as described below.
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            13.     The Accused Infringing Devices are LED lamps.
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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            14.     The Accused Infringing Devices have a blue LED for producing an emission
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     wavelength falling within a blue wavelength range. Exemplary blue LEDs, which are covered in
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     a yellow phosphor, are shown circled in red in the figures below.
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26          15.     The Accused Infringing Devices have a red LED for producing an emission at a

27   wavelength falling within a red wavelength range.

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              16.   The Accused Infringing Devices have a phosphor that has been photoexcited by
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     the blue LED to exhibit a luminescence having an emission spectrum in an intermediate
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     wavelength range between the blue and red wavelength ranges.
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              17.   Lifi has thus infringed at least claim 1 of the ’073 patent by making, using, testing,
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     selling, offering for sale and/or importing the Accused Infringing Devices.
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              18.   Lifi’s acts of direct infringement have caused damage to SPV, and SPV is entitled
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     to recover damages sustained as a result of Lifi’s wrongful acts in an amount subject to proof at
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     trial.
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                         COUNT II: INFRINGEMENT OF THE ’607 PATENT
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              19.   The allegations of paragraphs 1-8 of this Complaint are incorporated by reference
26
     as though fully set forth herein.
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              20.   SPV owns by assignment the entire right, title, and interest in the ’607 patent.
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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            21.      The ’607 patent was issued by the United States Patent and Trademark Office on
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     April 17, 2007 and is titled “LED Lamp.” A true and correct copy of the ’607 patent is attached
 3
     as Exhibit B.
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            22.      Upon information and belief, Lifi has directly infringed at least claim 9 of the ’607
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     patent by making, using, testing, selling, offering for sale and/or importing in the United States
 6
     without authority devices such as the LIFX bulbs (collectively the “Accused Infringing Devices”)
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     in an exemplary manner as described below.
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            23.      The Accused Infringing Devices are Light emitting diodes (LEDs).
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22          24.      The Accused Infringing Devices contain a substrate, a cluster of LEDs, which are
23   arranged two-dimensionally on the substrate and an interconnection circuit which is electrically
24   connected to the LEDs.
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11          25.     The Accused Infringing Devices contain LEDs where a first group of LEDs, which
12   are located around the outer periphery of the cluster, and a second group of LEDs, which are
13   located elsewhere in the cluster (e.g., toward the center).
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            26.     The Accused Infringing Devices contain an interconnection circuit wherein the
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     interconnection circuit has an interconnection structure for separately supplying drive currents to
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     at least one of the LEDs in the first group and to at least one of the LEDs in the second group
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     separately from each other. One or more of the LEDs in the outer periphery can be operated
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     independently of one or more LEDs located toward the center.
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                                   COMPLAINT FOR PATENT INFRINGEMENT
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              27.   The emission of the LEDs from the first group in the Accused Infringing Devices
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     has a lower color temperature than that of the LEDs in the second group.
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22            28.   Lifi has thus infringed at least claim 9 of the ’607 patent by making, using, testing,
23   selling, offering for sale and/or importing the Accused Infringing Devices.
24            29.   Lifi’s acts of direct infringement have caused damage to SPV, and SPV is entitled
25   to recover damages sustained as a result of Lifi’s wrongful acts in an amount subject to proof at
26   trial.
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                                         PRAYER FOR RELIEF
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                    WHEREFORE, SPV respectfully requests the following relief:
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            A.      A judgment that Lifi has infringed the ’073 patent;
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            B.      A judgment that Lifi has infringed the ’607 patent;
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            C.      A judgment that SPV be awarded damages adequate to compensate it for Lifi’s
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     past infringement and any continuing or future infringement of the ’073 patent and the ’607
 7
     patent, including pre-judgment and post-judgment interest costs and disbursements as justified
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     under 35 U.S.C. § 284 and an accounting;
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            D.      That SPV be granted its reasonable attorneys’ fees in this action;
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            E.      That this Court award SPV its costs; and
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            F.      That this Court award SPV such other and further relief as the Court deems proper.
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14    Dated: January 2, 2019               FEINBERG DAY ALBERTI LIM & BELLOLI LLP
15                                         By: /s/ Marc Belloli
16                                            Marc Belloli
                                               Attorneys for Plaintiff Sovereign Peak Ventures, LLC
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18                                   DEMAND FOR JURY TRIAL
19          SPV demands trial by jury for all issues so triable pursuant to Fed. R. Civ. P. 38(b) and
20   Civil L.R. 3-6(a).
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22    Dated: January 2, 2019               FEINBERG DAY ALBERTI LIM & BELLOLI LLP

23                                         By: /s/ Marc Belloli
                                              Marc Belloli
24                                             Attorneys for Plaintiff Sovereign Peak Ventures, LLC
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